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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

NICOLI ANTONIO SANTANA CIVIL CASE NO: 20-CV-1226
PLAINTIFF : Jury TRIAL DEMANDED

JANINE L. QUIGLEY. IN HER OFFICIAL
CAPACITY, AS WARDEN, IN THE BERKS

County JAIL system, CHIEF Deputy WARDEN
SMITH. IN HIS OFFICIAL CAPACITY, K. .
KENNETH BROWN. IN HIS OFFICIAL, CAPTAIN —
CastTRO. IN HIS OFFICIAL capacity, $.0.G.
OPERATOR Dew, IN HIS OFFICIAL CAPACITY.
S.0.G. OPERATOR AMNEYHOWER, IN HIS

OFFICIAL CAPACITY: — peeenpanys

AMENDED COMPLAINT

T. JURISDICTION AND AVENUE

1.. THIS IS A CIVIL ACTION AUTHORIZED BY 42. U.S.A. Section $1983, TO REDRESS
THE DEPRIVATION UNDER COLOR OF STATE LAW. OF THE RIGHT SECURED BY THE CONSTITUTION OF THE:
UNITED STATES. THE COURT HAS JURISDICTION UNDER 42. U.S.A. Section 1331 ann 1343 (A) (3).
PLAINTIFF SEEKS DECLARATORY RELIEF PURSUANT TO 42. U.S.C. Section 2201 ano 2202. PLAINTIFF
CLAIMS FOR INJUNCTIVE RELIEF ARE AUTHORIZED BY 28. U.S.C. Section 2283 anp 2284 AND RULE
65 OF THE FEDERAL RULES OF CIVIL PROCEDURE.

2. THE EASTERN DISTRICT IS AN APPROPRIATE VENUE UNDER 28. U.S.C. Section 1329
(B) (2) BECAUSE THIS IS WHERE THE EVENTS GIVING RISE TO THIS CLAIM OCCURED.

Il. PARTIES

3. PLAINTIFF._NICOLE ANTONIO SANTANA, IS AND WAS AT ALL TIMES HEREIN WAS CONFINED
IN THE BERKS COUNTY JAIL SYSTEM (BCJS) FROM 8/29/2017 To 2/19/2019. HE WAS A PRETRIAL DETAI-
NEE. HE TS NOW CONFINED IN S.C.1. FOREST . MARTENVILLE. PENNSYLVANIA.

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4. DEFENDANT. JANINE 1. QUIGLEY, IS THE WARDEN OF BERKS COUNTY JAIL SYSTEM (BCUS).
SHE 1S THE POLICY MAKER OF THE BERKS COUNTY JAIL SYSTEM WHO IS LEGALLY RESPONSIBLE FOR THE
OPERATIONS AND WELFARE OF ALL THE PRISONERS IN THE BERKS COUNTY JAIL SYSTEM. SHE 1S BEING

SUED IN HER OFFICIAL CAPACITY.

5. DEFENDANT. CHIEF DEPUTY WARDEN SMITH, IS THE DEPUTY WARDEN OF THE BERKS COUNTY
JAIL SYSTEM. HE IS RESPONSIBLE FOR SUPERVISING STAFF IN THE BERKS COUNTY JAIL SYSTEM. HE IS
BEING SUED IN HIS OFFICIAL CAPACITY.

6. «DEFENDANT, K. KENNETH BROWN, IS THE ASSISTANT DISTRICT ATTORNEY, OF BERKS COUNTY.
HE IS BEING SUED IN HIS OFFICIAL CAPACITY.

7. DEFENDANT. CAPTAIN CASTRO. IS A CORRECTIONAL OFFICER IN BERKS COUNTY JAIL. HE
IS BEING SUED IN HIS OFFICIAL CAPACITY.

8. §.0.6. OPERATOR DEW IS A CORRECTIONAL OFFICER IN THE BERKS COUNTY JAIL SYSTEM. HE
IS BEING SUED IN HIS OFFICIAL CAPACITY.

9. S.0.G. OPERATOR AMNEYHOWER IS A CORRECTIONAL OFFICER IN THE BERKS COUNTY JAIL. HE
IS BEING SUED IN HIS OFFICIAL CAPACITY.

10. EACH DEFENDANT IS SUED IN HIS OR HER OFFICIAL CAPACITY. AT ALL TIMES MENTIONED IN |
THIS COMPLAINT EACH DEFENDANT ACTED UNDER THE COLOR OF STATE LAW.
jib rect 2 — | |
11. ON MARCH 2ND. 2018, AT APPROXIMATELY 8:05am.3 $.0.G. OPERATOR DEW AND S.0.6.
OPERATOR AMNEYHOWER CAME TO PLAINTIFFS CELL (1-2B) AND CONDUCTED A SEARCH.

12. PLAINTIFF ASKED BOTH CORRECTION OFFICERS, WHY ARE YOU SEARCHING MY CELL? THEY
REPLIED. “WE WERE SENT ON THE DIRECTIONS AND THE AUTHORITY FROM THE ADMINISTRATIVE STAFF. AND
ON THE ORDERS OF (MR. K. KENNETH BROWN) THE ASSISTANT DISTRICT ATTORNEY” TO CONFISCATE (CALL?
PAPER WORK IN YOUR POSSESSION.
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13. PLAINTIFF ASKED THESE OFFICER(S) (DEW AND AMNEYHOWER) DO THEY HAVE A SEARCH WARRANT
TO CONDUCT A “SEARCH AND SEIZURE” OF HIS PAPER WORK? THEY STATED; “THAT THEY WERE WITHIN

THEIR AUTHORITY TO CONFISCATE MY PAPERWORK” !

14. PLAINTIFF WAS DENIED THE RIGHT TO BE PRESENT DURING THE. SEARCH AND WAS NOT PRESENTED |
A SEARCH WARRANT AUTHORIZED BY THE COURT TO CONDUCT SUCH. “SEARCH AND SEIZURE BY LAW”.

15. AFTER THE SEARCH AND SEIZURE WAS COMPLETED, OFFICER’S DEW AND AMNEYHOWER,EXIT THE
CELL CARRYING A STACK OF THE PLAINTIFFS LEGAL DOCUMENTS AND OTHER PAPER(S). ONCE THE CELL
SEARCH AND THE CONFISCATION OF MY DOCUMENTS WAS COMPLETED I WAS PLACED BACK IN MY CELL.

16. UPON INVENTORY OF MY PROPERTY, PLAINTIFF RECOGNIZED THAT CALL) OF HIS LEGAL DOCU-
MENTS AND CORRESPONDENCE LETTER(S) WERE MISSING! PLAINTIFF INFORMED THESE DEFENDANTS (DEW
AND AMNEYHOWER) THAT THEY HAD CONFISCATED (LEGAL PAPERS) THAT ARE FROM HIS ATTORNEY AND FROM
THE COURT. ADDITIONAL PAPERS WERE CONFISCATED WITH NO JUSTIFICATION! CORRESPONDING PAPERS
THAT PLAINTIFF INTENTED TO SEND TO HIS ATTORNEY THAT PERTAINED TO HIS CASE AND STRATEGY OF
HIS DEFENSE, AND OTHER LEGAL AND PERSONAL LETTERS TO HIS WIFE.

17. PLAINTIFF WAS ADVISED BY (S.0.G. OPERATOR DEW) TO ADDRESS THIS MATTER AND ANY OTHER
CONCERNS ON A GRIEVANCE. DEFENDANT DEW AND AMNEYHOWER PROCEEDED TO LEAVE THE BLOCK CARRYING .
- ALL THE PLAINTIFFS LEGAL. DOCUMENTS.AND OTHER RELATED PERSONAL, AND LEGAL LETTER(S):

18. APPROXIMATELY (2) TO (4) HOURS LATER, (DEFENDANT S.0.G. OPERATOR DEW) RETURNED WITH
SOME OF THE PLAINTIFFS LEGAL DOCUMENTS. I QUESTIONED OPERATOR DEW, WHAT WAS THIS ALL ABOUT? —
DEW STATED; “HE WAS INSTRUCTED TO COPY ALL MY LEGAL MATERIAL”. I ASKED DEW WHAT DID HE DO
WITH MY COPIECS). AND DEW STATED: “HE TURNED ALL THE PLAINTIFFS COPIES OVER TO THE (DEFENDER)

CHIEF DEPUTY WARDEN (SMITH)”.

19. $.0.G. OPERATOR DEW AND $.0-G. OPERATOR AMNEYHOWER (SEARCH AND SEIZURE) OF THE PLAIN-
TIFFS LEGAL DOCUMENTS AND RELATED LETTERS WERE NOT FOR THE SECURITY OF THE BERKS COUNTY JAIL.
INSTEAD, AS EXPLAINED BY (S.0.G. OPERATOR DEW AND AMNEYHOWER) BEFORE STARTING THEIR CELL
SEARCH TO(CONFISCATE ALL MY LEGAL MATERIAL WAS FOR THE SOLE PURPOSE OF PROVIDING LAW ENFORCE-
MENT A COPY AS EXPLAINED BY THESE TWO DEFENDANTS.
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to, Dedendants 5.06. Ofera bor Dew ared 5.2.6. Ofermtoc Reser.
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eli ppineys peer ny (SSUES of thlegal Sentech arid Seiaures belaty eg -
ducted at Hie Derks Canty Sait syste CAcT9) by 5.0.6. dperntocs at
the request of the Pefendant Assistaret Misthiot Attorney Kt. Keeweth Bros)

21. THESE TWO (2) DEFENDANTS: THERR ACTIONS VIOLATED PLAINTIFFS RIGHT TO ATTORNEY CLIENT
PRIVILEGE “CONFIDENTIALITY” AND THIS WAS BROUGHT TO THEIR ATTENTION. PLAINTIFF INFACT IN~
FORMED BOTH-OF THESE (OFFICERS- DEFENDANTS)OF THE CONTENTS THAT THEY WERE CONFISCATING LEGAL
DOCUMENTS FROM PLAINTIFFS ATTORNEY AND THE COURT. THAT THE SEIZURE OF THE DOCUMENTS WERE NOT
PERMITTED BY LAW! NONETHELESS. THE DOCUMENTS WERE ILLEGALLY SEIZED, COPIED. AND TURNED OVER
TO LAW ENFORCEMENT AND THE DISTRICT ATTORNEYS OFFICE.

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a2. Om of about Meorth a, 29/87, he fodan? Lisp feet ot Lastre
calls plank fl Lo his 0Phce and redupls Some Copres oF plaine(y
hefjat tscamenfs Phat fie S44 "“Coudf he [OSS OLY Cau straed ES
being beg al chcuments or Legal werk,"

23. PLAINTIFF DID INFORM (THE WARDEN) DEFENDANT, JANINE L. QUIGLEY, OF THIS CONSTITUTIONAL
VIOLATION BY APPEAL. MS. QUIGLEY ACKNOWLEDGED THAT SHE KNEW ABOUT THE ILLEGAL SEARCH AND.
SEIZURE OF MY DOCUMENTS BEING COPIED. AND TURNED OVER TO LAW ENFORCEMENT, BUT YET. FAILED TO
ACT AND/OR REMEDY THIS CONSTITUTIONAL VIOLATION OF PLAINTIFFS RIGHTS THAT WAS BEING COMITTED
BY HER STAFF.

24. (WARDEN) JANINE L. QUIGLEY IS THE POLICY MAKER OF THE BERKS COUNTY JAIL. AND HER
ACKNOWLEDGEMENT. CONDONING, ENFORCEMENT, AUTHORIZATION AND IMPLEMENTATION OF A “CUSTOM” THAT
IS A PRACTICE THAT IS SO LONGSTANDING AND WELL SETTLED AS TO HAVE THE FORCE OF LAW, WAS THE
MOVING FORCE THAT LEAD TO THE CONSTITUTIONAL VIOLATIONS OF THE PLAINTIFFS RIGHTS BY HER STAFF

"AT THE BERKS COUNTY ‘JAIL. | |
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25. (DEFENDANT) CHIEF DEPUTY WARDEN SMITH. CONDONEMENT, ACTUAL KNOWLEDGE, AND ENFORCE-
MENT OF A “CUSTOM” THAT WAS A PRACTICE THAT IS SQ LONGSTANDING AND WELL-SETTLED. AS TO HAVE

THE FORCE OF LAW.. DEFENDANTS DELIBERATE. INDIFFERENCE TO A SUBSTANTIAL RISK OF SERIOUS CON-
STITUTIONAL VIOLATIONS OCCURRING VIOLATED PLAINTIFFS CONSTITUTIONAL RIGHTS TO ATTORNEY CLIENT
PRIVILEGE AND RIGHT TO NOT BE SUBJECT TO “UNREASONABLE SEARCH AND SEIZURES” AND RIGHT TO AN
"EXPECTATION OF PRIVACY’. AND ENFORCEMENT OF SUCH CUSTOM WAS THE MOVING FORCE THAT LEAD TO
THE DEPRIVATION OF THOS& GUARANTEED CONSTITUTIONAL RIGHTS SECURED BY THE UNITED STATES CON- .
_ STITUTION, that Caused im duc LEO Fhe Ales nett if £ NIGATS «

26. (DEFENDANT) ASSISTANT DISTRICT ATTORNEY. K. KENNETH BROWN. “UNLAWFUL AND UNETHICAL
CONDUCT VIOLATED PLAINTIFFS CONSTITUTIONAL RIGHTS TO ATTORNEY CLIENT PRIVILEGE. THE RIGHT
TO NOT BE SUBJECTED TO “UNREASONABLE SEARCH AND SEIZURES’. AND A RIGHT TO AN EXPECTATION OF
PRIVACY. WHEN HE SOLICITED THE HELP OF THE STAFF AT THE BURKS COUNTY JAIL SYSTEM TO PERFORM
A WARRANTLESS SEARCH AND SEIZURES OF THE PLAINTIFFS CELL AND SEIZURE OF HIS LEGAL WORK AND
CORRESPONDENCE LETTERS FOR LAW ENFORCEMENT PURPOSE.

27. SOME COURTS HAVE HELD THAT IF A SEARCH IS INITIATED BY [THE PROSECUTOR] FOR LAW
ENFORCEMENT PURPOSE AND NOT BY PRISON OFFICIALS FOR SECURITY PURPOSE. PRISONERS DO RETAIN
FOURTH AMENDMENT RIGHTS (THOUGH THEY ARE DEMINISHED IN SCOPE), A WARRANT IS REQUIRED. ‘lip
| "

78. DEFENDANTS DELIBERATE INDIFFERENCE
FROM 8/29/19 TO 2/19/19. DEFENDANTS (WARDEN) JANINE L. QUIGLEY, CHIEF DEPUTY WARDEN
SMITH. CAPTAIN CASTRO. S.0.6. OPERATOR DEW, AND S.0.G. OPERATOR AMNEYHOWER HAD ACTUAL OF
A “CUSTOM” THAT WAS A PRACTICE THAT 1S SO LONGSTANDING AND WELL-SETTLED AS TO HAVE THE FORCE
OF LAW. WAS CONTINUOUSLY BE USED FOR LAW ENFORCEMENT PURPOSE AND NOT FOR SECURITY PURPOSE.
THIS CUSTOM IS A PRACTICE. WAS LONGSTANDING, WELL SETTLED. PERVASIVE. AND APPARENT TO ANY
KNOWLEDGABLE OBSERVER.

 

29. AS A RESULT OF THis tuston THAT IS A PRACTICE, THAT IS SO.LONGSTANDING AND WELL SET~-
TLED. AS TO HAVE THE FORCE OF LAW. THAT WAS BEING CONDONED, ACKNOWLEDGED AND ENFORCED, CRE-
ATED A CONSTITUTIONAL VIOLATION THAT CAUSED INJURY TO PLAINTIFFS RIGHTS SECURED BY THE

UNITED STATES CONSTUTION. Ge fentcdaneds Ylaphowt Janine L, Quigley aned
Chief beput Warde Smith Chh hited Sel berate brrdiblepeece Ct GQ Selioeds —
Constrtatroe al Ufilakr ob , Whee they failed fa act Zo 5 foe Such Gera
Lakroms bet'ny cartied out by alot “pitrey procedures by sta Al.
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30. UPON INFORMATION AND BELIEF. STAFF AT THE BERKS COUNTY JAIL SYSTEM (BCJS) ARE STILL
CONDUCTING ILLEGAL SEARCH AND SEIZURES FOR THE DISTRICT ATTORNEYS OFFICE AND USING A “CUSTOM”
THAT IS PRACTICE AND CONDONED AND ENFORCED BY THE (WARDEN) DEFENDANT JANINE L. QUIGLEY,

CHIEF DEPUTY WARDEN SMITH, CAPTAIN CASTRO. S.0.G. OPERATOR DEW, AND S.0.6. OPERATOR AMNEY-
HOWER AND REQUEST FROM PROSECUTORS FOR LAW ENFORCEMENT PURPOSE AND NOT FOR SECURITY PURPOSE
FOR THE BERKS COUNTY JAIL SYSTEM.

31. EXHAUSTION OF LEGAL REMEDIES
PLAINTIFF HAS EXHAUSTED ALL AVAILABLE ADMINISTRATIVE REMEDIES REGARDING THE MATTERS

DESCRIBED IN THIS COMPLAINT!

32. IV. LEGAL CLAIMS
PLAINTIFF RE-ALLEGES AND INCORPORATE BY REFERENCE PARAGRAPHS 1~ 31.

#1. THAT THE ACTIONS OF THE DEFENDANTS S.0.G. OPERATOR DEW. $.0.6. OPERATOR

AMNEYHOWER AND CAPTAIN CASTRO EXHIBITED A DELIBERATE INDIFFERENT (SERIOUS CONSTITUTIONAL-
VIOLATION) OCCURRING BY ENFORCING A “CUSTOM” THAT WAS A PRACTICE THAT WAS SO LONGSTANDING

AND WELL-SETTLED AS TO HAVE THE FORCE OF LAW AND WAS A MOVING FORCE THAT HAD VIOLATED
PLAINTIFFS IST AND 4TH AMENDMENT RIGHTS UNDER THE CONSTITUTION OF THE UNITED STATES AND THIS
UNCONSTITUTIONAL VIOLATION CAUSED INJURY TO THE PLAINTIFF.

#2. (DEFENDANT) WARDEN MS. QUIGLEY, EXHIBITED DELIBERATE INDIFFERENCE 10 THE
PLAINTIFFS CONSTITUTIONAL RIGHTS BY CREATING A “CUSTOM” UNDER WHICH UNCONSTITUTIONAL PRAC-
TICES WERE OCCURRING AND FAILED TO RESONABLY RESPOND OR REMEDY THE WRONG BEING COMMITTED: BY
SUBORDINATES UNDER HER SUPERVISION. HER FAILURE TO ACT AND SUPERVISE SUBORDINATES BY RETRAIN~
ING SUBORDINATES ON POLICY. PROCEDURES, AND NOT “CUSTOM” TO PREVENT CONSTITUTIONAL VIOLATIONS
FROM OCCURRING). , .

#3. (DEFENDANT) CHIEF DEPUTY WARDEN EXHIBITED DELIBERATE INDIFFERENCE TO THE
PLAINTIFFS CONSTITUTIONAL RIGHTS UNDER THE 1ST AND 4TH, AMENDMENTS OF THE CONSTITUTION OF
THE UNITED STATES BY ENFORCING A CUSTOM THAT WAS LONGSTANDING AND WELL-SETTLED AS TO HAVE
THE FORCE OF LAW THAT SERVED NO BERKS COUNTY JAIL.PURPOSE.. BUT FOR ONLY, THE PURPOSE OF THE
LAW ENFORCEMENT. :
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#4. (DEFENDANT) K. KENNETH BROWN EXHIBITED DELIBERATE INDIFFERENCE TO PLAINTIFFS
CONSTITUTIONAL RIGHTS UNDER THE 1ST, AND THE 4TH, AMENDMENT OF- THE CONSTITUTION OF THE
UNITED STATES. BY INITIATING A SEARCH AND SEIZURE OF PLAINTIFFS LEGAL WORK AND CORRESPON-
DENCE LETTERS WITH THE STAFF AT THE BERKS COUNTY JAIL SYSTEM FOR LAW ENFORCEMENT PURPOSES
WITHOUT OBTAINING A CWARRANT) AUTHORIZED BY THE COURT. THIS UNLAWFUL CONDUCT CAUSED INJURY

TO THE PLAINTIFF.

33. PLAINTIFF (NICOLT ANTONIO SANTANA) HAS NO PLAIN ADEQUATE OR COMPLETE REMEDY AT LAW
TO REDRESS THE WRONGS DESCRIBED HEREIN. PLAINTIFF HAS BEEN AND WILL CONTINUE TO BE TRREPAR-
ABLY INJURED BY THE CONDUCT OF THE DEFENDANTS IN THIS MATTER UNLESS THE COURT GRANTS THE
DELARATORY AND INJUNCTION RELIEF WHICH PLAINTIFF SEEKS.

V.__PRAYER FOR RELIEF

WHEREFORE» PLAINTIFF RESPECTFULLY PRAYS THAT THis CourT ENTeR JUDGEMENT GRANTING
PLAINTIFF THE FoLLowIne:

34. A DECLARATION THAT THE ACTS AND OMISSIONS DESCRIBED HEREIN VIOLATED PLAINTIFFS RIGHTS
UNDER THE CONSTITUTION.& LAWS OF THE UNITED STATES.

35. A PRELIMINARY AND PERMANENT INJUNCTION ORDERING STAFF AT THE BERKS COUNTY JAIL SYSTEM
(BCJS) DEFENDANT (WARDEN) JANINE L. QUIGLEY. CHIEF DEPUTY WARDEN SMITH, THE ASSISTANT DIS-
TRICT ATTORNEY. K. KENNETH BROWN, CAPTAIN CASTRO. S.0.G. OPERATOR DEW. AND S.0.6. OPERATOR
AMNEYHOWER, TO CEASE FROM CONDUCTING ANY FURTHER UNLAWFUL (SEARCHES AND SEIZURES) WITHOUT
PROPER AUTHORIZATION FROM THE COURT. IN ADDITION. ORDER THE ADMINISTRATIVE STAFF TO REVISE
ALL POLICIE(S) RELATING TO CELL SEARCHES RELATING TO SECURITY. PROTECT ALL DETAINEES FROM
“UNREASONABLE SEARCH AND SEIZURES” FOR LAW ENFORCEMENT PURPOSE.

36. COMPENSATION DAMAGES (COMPENSATORY) DAMAGES IN THE AMOUNT OF $100,000.00 DOLLARS
AGAINST EACH DEFENDANT JOINTLY AND SEVERELY! | .

37. PUNITIVE DAMAGES IN THE AMOUNT OF $250,000.00 DOLLARS AGAINST EACH DEFENDANT!
38. A JURY TRIAL ON ALL ISSUES OF LAW THAT WARRANTS RELIEF BY A JURY!

39. PLAINTEFFS COURT COST IN THIS SUIT!

40. ANY ADDITIONAL RELIEF THIS COURT DEEMS JUST. PROPER, AND EQUITABLE IN MONETARY VALUE.

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VERIFICATION

| I, NICOLE ANTONIO SANTANA. HAVE READ THE FOREGOING COMPLAINT. AND HEREBY
VERIFY THAT THE MATTERS ALLEGED HEREIN ARE.TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE
AND BELIEF. f UNDERSTAND THAT FALSE STATEMENTS MADE ARE SUBJECT TO THE PENALTY OF PERJURY.

I CERTIFY UNDER THE PENALTY OF PERJURY THAT THE ENCLOSED COMPLAINT IS TRUE
AND CORRECT | : .

EXECUTED AT SCI FOREST, MARIENVILLE PENNSYLVANIA ON SEPTEMBER. f7, 2020.

THANK YOU
RESPECTFULLY

_ /u/ Wp snes

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